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     Bruce Locke (#177787)

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 4   916-569-0667
 5   Attorneys for Sharice Williams
 6                                    UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
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10          UNITED STATES,
                                                    No. 2:15-CR-185 TLN
11                            Plaintiff,

12                  v.                               STIPULATION AND ORDER TO

13          SHARICE WILLIAMS, et. al,.               CONTINUE THE STATUS CONFERENCE

14                            Defendant.             TO MARCH 17, 2016

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20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for January 14, 2016

23   at 9:30 a.m., should be continued to March 17, 2016 at 9:30 a.m., and that time under the Speedy

24   Trial Act should be excluded from January 14, 2016 through March 17, 2016.

25          The reason for the continuance is that defense counsel needs additional time to conduct
     investigation and review the discovery and conduct plea negotiations. The discovery includes
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     several video tapes. The exclusion of time is also necessary to ensure continuity of counsel.
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     Accordingly, the time between January 14, 2016 and March17, 2016 should be excluded from the
     Speedy Trial calculation pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local

 2   Code T-4 for defense preparation. The parties stipulate that the ends of justice served by granting

 3   this continuance outweigh the best interests of the public and the defendants in a speedy trial. 18

 4   U.S.C. §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to sign this pleading for him.

 5
            Date: January 12, 2016                                /s/ Bruce Locke
 6                                                               BRUCE LOCKE
                                                                 Attorney for Sharice Williams
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 8

 9          Date: January 12, 2016                                /s/ Bruce Locke
                                                                 For ROGER YANG
10                                                               Assistant United States Attorney

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            IT IS SO ORDERED.
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14          Dated: January 12, 2016
                                                              Troy L. Nunley
15                                                            United States District Judge
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